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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                              MIDLAND/ODESSA DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )      MO:16-MJ-063
                                             )      A-05-CR-221(1)-LY
VICENTE GONZALES-PESINA                      )

                          INTRA-DISTRICT TRANSFER ORDER

       On the 2nd day of February, 2016, the Court held an initial appearance for the Defendant.

The Defendant is ordered to be transferred to the Austin Division for further hearings.

       THEREFORE, the United States Marshals Service is ordered to transfer the

Defendant to the Austin Division for further hearings on this matter.

       The Clerk is ordered to provide a copy of this Order to the United States Marshals

Service in Midland and Austin, Texas.

       It is so ORDERED.

       SIGNED this 2nd day of February, 2016.




                                     DAVID COUNTS
                                     U.S. MAGISTRATE JUDGE
